Case: 1:18-Cv-05369 Document #: 25 Filed: 09/18/18 Page 1 of 1 Page|D #:523

AO 458 (Rev. 06309) Appearan ce of Counse\

UNITED STATES DlsTRlCT COURT
for the

Northem Disttict of Illirlois

 

 

UB!QU|T| NEWVORKS |NC_ )
plainly )
v. ) Case No. 18-05369
CAMB|UM NETWORKS. |NC. ET AL. )
Defendani )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

PLA|NT|FF, UBIQU|T| NETWORKS. |NC_

uaw 09/18/2018 W;\/W

Attomey ’s sign\£ziure

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